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                                 Case No: 1:23-cv-00811-EGB


    IN THE UNITED STATES COURT OF FEDERAL CLAIMS


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LARRY GOLDEN,
                                                Patent Infringement
                 Plaintiff,

                    V.
                                                July 25, 2023
THE UNITED STATES,
               Defendant.




    PLAINTIFF’S RESPONSE TO THE GOVERNMENT’S MOTION TO
      STAY BRIEFING ON PLAINTIFF’S MOTION FOR SUMMARY
                         JUDGEMENT
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                              JURISDICTION AND VENUE

       Pursuant to 28 U.S. Code § 1498 (a): “Whenever an invention described in and covered
by a patent of the United States is used or manufactured by or for the United States without
license of the owner thereof or lawful right to use or manufacture the same, the owner’s remedy
shall be by action against the United States in the United States Court of Federal Claims for the
recovery of his reasonable and entire compensation for such use and manufacture” …
       “(F)or the purposes of this section, the use or manufacture of an invention described in
and covered by a patent of the United States by a contractor [i.e., the Department of Defense
(DOD)], a subcontractor [i.e., the Defense Threat Reduction Agency (DTRA)], or any person,
firm, or corporation [Draper Laboratory, Inc.] for the Government and with the authorization or
consent of the Government, shall be construed as use or manufacture for the United States.”


Scope of Section 1498(a)
       As § 1498(a) infringement actions are grounded in eminent domain and not defined by
statute, the scope of what constitutes the unlawful taking of a license to use a patent is a creature
of case law. As such, the basis for the USCFC’s jurisdiction over infringement actions must be
linked to the government’s taking of a patent license through its “use or manufacture” of the
patented invention “without license of the owner thereof or lawful right.” Decca Ltd. v. United
States, 640 F.2d 1156, 1166–67 (Ct. Cl. 1980). Retrieved from: https://www.uscfc.uscourts.
gov/node/2927 “Intellectual Property Suits in the United States Court of Federal Claims”


“For the Government”
       In Advanced Software Design Corp. v. Federal Reserve Bank of St. Louis, the Federal
Circuit interpreted the term “for the government” to mean that the government derives a benefit
from the use or manufacture of the patented technology. 583 F.3d 1371, 1376–77 (Fed. Cir.
2009). For example, the patented technology itself must be used “in furtherance and fulfillment
of a stated Government policy,” which would serve the government’s interest, for the
government’s benefit. IRIS Corp. v. Japan Airlines Corp., 769 F.3d 1359, 1362 (Fed. Cir. 2014)
(quoting Madey v. Duke Univ., 413 F. Supp. 2d 601, 607 (M.D.N.C. 2006)). Retrieved from:
https://www.uscfc.uscourts.gov/node/2927 “Intellectual Property Suits in the United States Court
of Federal Claims”

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“Authorization or Consent”
          The government’s authorization of or consent to a contractor’s infringing activity may be
express or implied. TVI Energy Corp. v. Blane, 806 F.2d 1057, 1060 (Fed. Cir. 1986); Hughes
Aircraft Co. v. United States, 534 F.2d 889, 901 (Ct. Cl. 1976). Federal Acquisition Regulation
(FAR) 52.227-1 contains an express grant of “authorization and consent” for contractors [i.e.,
the Department of Defense (DOD)] and subcontractors [i.e., the Defense Threat Reduction
Agency (DTRA)] for the use and manufacture of any patented invention (1) embodied in the
structure or composition of any article delivered to and accepted by the government related to a
government contract; or (2) used in machinery, tools, or methods necessary for a contractor to
comply with the specifications of a contract, or if such use is directed by a contracting officer’s
specific written instructions.48 C.F.R. § 52.227-1; see also Sevenson Envtl. Servs., Inc. v. Shaw
Envtl., Inc., 477 F.3d 1361, 1367 (Fed. Cir. 2007); TDM Am., LLC v. United States, 83 Fed. Cl.
780, 784–86 (2008). Retrieved from: https://www.uscfc.uscourts.gov/node/2927 “Intellectual
Property Suits in the United States Court of Federal Claims”


“Implied Authorization”
          To succeed on an implied authorization theory there must be some explicit government
action, such as a contracting officer’s instruction, or evidence extrinsic to the contract language
showing the government’s intention to assume liability. Va. Panel, 133 F.3d at 870; Larson, 26
Cl. Ct. at 370. In Larson v. United States, the Claims Court recognized that implied authorization
“may be found under the following conditions: (1) the government expressly contracted for work
to meet certain specifications 1; (2) the specifications cannot be met without infringing on a
patent; and (3) the government had some knowledge of the infringement.” Larson, 26 Cl. Ct. at
370 (citing Bereslavsky v. Esso Standard Oil Co., 175 F.2d 148, 150 (4th Cir. 1949); Carrier
Corp. v. United States, 534 F.2d 244, 247–50 (Ct. Cl. 1976); Hughes, 534 F.2d at 897–901).
Retrieved from: https://www.uscfc.uscourts.gov/node/2927 “Intellectual Property Suits in the
United States Court of Federal Claims”
_____________________________________________________________________________
1
    This case is about the government’s infringement, not Google’s infringement. We know Google was not
a contractor or subcontractor, and yet, the Government has failed to produce any evidence that proves
“the government expressly contracted [Google] for work to meet certain specifications”

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                               VERTICAL STARE DECISIS

       The United States Court of Appeals for the Federal Circuit is a federal court that has
special importance in patent law. The Federal Circuit does not have jurisdiction over a particular
region. Instead, it has jurisdiction over all appeals in cases that “arise under” the patent
laws. The Federal Circuit’s jurisdiction over appeals in patent cases is exclusive. Other circuit
courts cannot review decisions in those cases.
       Congress created the Federal Circuit in 1982 to be a court with specialized expertise in
patent law. In giving it exclusive jurisdiction over patent cases, Congress aimed to ensure that
the interpretation of the patent laws, and applicable legal precedent, would be uniform
throughout the nation, and not vary among regional circuits.
        Consistent with that, the Federal Circuit has developed a large body of precedent
governing patent cases: how to interpret patent claims, how infringement must be proved, how
invalidity must be established, and how damages must be calculated. Successful patent litigation
in the district courts requires diligently the following of the Federal Circuit’s pronouncements on
those issues.
       Vertical stare decisis binds lower courts to follow strictly the decisions of higher courts
within the same jurisdiction (e.g., the U.S. Court of Federal Claims must follow the decisions of
the U.S. Court of Appeals for the Federal Circuit). The Supreme Court defines vertical stare
decisis as the doctrine, “a lower court must strictly follow the decision(s) handed down by a
higher court within the same jurisdiction”.
       A court engages in vertical stare decisis when it applies precedent from a higher court.
For example, if the U.S. Court of Federal Claims adhered to a previous ruling from the U.S.
Court of Appeals for the Federal Circuit, that would be vertical stare decisis.
       The Federal Circuit on 09/08/2022, in Larry Golden v. Google LLC; Case No. 22-1267
— “VACATED AND REMANDED” the relevant Case No: 22-1267 Document 15; back to the
District Court “to be filed and request service of process”. The Federal Circuit determined the
complaint, “includes a detailed claim chart mapping features of an accused product, the Google
Pixel 5 Smartphone, to independent claims from U.S. Patent Nos. 10,163,287, 9,589,439, and
9,069,189” … “in a relatively straightforward manner” … and that the [Circuit] “express no
opinion as to the adequacy of the complaint or claim chart except that it is not facially frivolous.”


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       Three-Judge Panel: “DISCUSSION. ‘Under the pleading standards set forth in Bell
       Atlantic Corp. v. Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662
       (2009), a court must dismiss a complaint if it fails to allege “enough facts to state a claim
       to relief that is plausible on its face.” Twombly, 550 U.S. at 570 … [T]his standard
       “requires more than labels and conclusions, and a formulaic recitation of the elements of
       a cause of action will not do.” Id. at 555 (citation omitted). A plaintiff must allege facts
       that give rise to “more than a sheer possibility that a defendant has acted unlawfully.”
       Iqbal, 556 U.S. at 678 (citation omitted) … this court has explained that a plaintiff …
       must plead “‘enough fact[s] to raise a reasonable expectation that discovery will reveal’
       that the defendant is liable for the misconduct alleged.”

       “Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
       product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
       10,163,287, 9,589,439, and 9,069,189 … It [claim chart] attempts [] to map claim
       limitations to infringing product features, and it does so in a relatively straightforward
       manner …[W]e conclude that the district court’s decision in the Google case is not
       correct with respect to at least the three claims mapped out in the claim chart. Mr. Golden
       has made efforts to identify exactly how the accused products meet the limitations of his
       claims in this chart.…”

       Vertical Stare Decisis bars the Government from challenging, and this Court from
overturning, the Federal Circuit’s ruling: “the complaint includes a detailed claim chart mapping
features of an accused product, the Google Pixel 5 Smartphone, to independent claims from U.S.
Patent Nos. 10,163,287, 9,589,439, and 9,069,189” … ‘in a relatively straightforward manner’”
       Below is a list of “sensor types supported by the ‘Android’ platform, that can be found in
the first original complaint filed in the U.S. District Court for the District of South Carolina –
Greenville Division. The alleged facts were included in the original complaint because Plaintiff
knew and understood he “must allege facts that give rise to “more than a sheer possibility that
the Defendant has acted unlawfully.” Iqbal, 556 U.S. at 678 (citation omitted).
       On appeal in Larry Golden v. Google LLC; Case No. 22-1267, the Federal Circuit
determined Plaintiff has “pled enough fact[s] to raise a reasonable expectation that discovery will
reveal that the Defendant is liable for the misconduct alleged.”


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       Therefore, according to the doctrine of “Vertical Stare Decisis” the Government is barred
from challenging, and this Court is barred from relitigating the specifications of the Google Pixel
5 and the Android Team Awareness Kit (ATAK), that was decided as being nonfrivolous in U.S.
Court of Appeals for the Federal Circuit: See the sensor types for “Android” listed below:
    _________________________________________________________________________

                     SENSOR TYPES SUPPORTED BY THE “ANDROID” PLATFORM

  ❖ BIOMETRICS: Biometric factors allow for secure authentication on the Android platform. The
    Android framework includes face and fingerprint biometric authentication. Android can be
    customized to support other forms of biometric authentication (such as Iris).

  ❖ DISABLING LOCK MECHANISM: Google's Android operating system features a lock
    mechanism to secure your phone, known as pattern lock. When setting the pattern, you must drag
    your finger along lines on the screen between different nodes. Afterward, to unlock the phone,
    you'll need to replicate the pattern drawn. If you fail to solve the pattern too many times, the
    phone locks and cannot be unlocked without logging into the associated Google account. If you
    can't log in, you'll have to employ some other methods to restore control of your phone.

  ❖ CHEMICAL, BIOLOGICAL, RADIOLOGICAL, AND NUCLEAR (CBRN) DETECTION:
    Through collaboration and innovation, the Defense Threat Reduction Agency has integrated its
    powerful, hazard-awareness-and-response tools into the Android Tactical Assault Kit (or the
    Android Team Awareness Kit, ATAK). ATAK is a digital application available to warfighters
    throughout the DoD. Built on the Android operating system, ATAK offers warfighters geospatial
    mapping for situational awareness during combat — on an end-user device such as a smartphone or
    a tablet. With DTRA’s contribution, ATAK now includes chemical, biological, radiological, and
    nuclear (CBRN) plug-ins.

  ❖ HEART RATE: Android Team Awareness Kit, ATAK provides a single interface for viewing and
    controlling different CBRN-sensing technologies, whether that is a wearable smartwatch that
    measures a warfighter’s vitals (e.g., heart rate) or a device mounted on a drone to detect chemical
    warfare agents.

  ❖ NEAR FIELD COMMUNICATION (NFC): Pixel™, Phone by Google - Turn NFC on/off. Near
    Field Communication (NFC) allows the transfer of data between devices that are a few centimeters
    apart, typically back-to-back. NFC must be turned on for NFC-based apps (e.g., Tap to Pay) to
    function correctly. NFC is a set of short-range wireless technologies, typically requiring a distance
    of 4cm or less to initiate a connection. NFC allows you to share small payloads of data between
    an NFC tag and an Android-powered device, or between two Android-powered devices. Tags can
    range in complexity.

  ❖ WARFIGHTERS: The U.S. armed forces and their interagency and coalition partners value
     Android Team Awareness Kit, ATAK and the common operating picture it provides. DTRA
     continues to develop CBRN-specific plug-in capabilities to support warfighters on the battlefield.
   _______________________________________________________________________________




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       The Federal Circuit has determined Golden has alleged “enough facts to state a claim to
relief that is plausible on its face.” Twombly, 550 U.S. at 570 … pled “‘enough fact[s] to raise a
reasonable expectation that discovery will reveal’ that the defendant is liable for the misconduct
alleged”. The decision cannot be overturned by the lower Court of Federal Claims.
       In the Federal Circuit’s language, “a detailed claim chart mapping features of an accused
product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
10,163,287, 9,589,439, and 9,069,189”, indicates a determination has been made on direct
infringement, either literally or under the doctrine of equivalents.
       Therefore, when the Federal Circuit states, ““express no opinion as to the adequacy [the
state or quality of being adequate] of the complaint or claim chart except that it is not facially
frivolous”, means the Circuit is not expressing an opinion on whether the direct infringement is
literal direct infringement or direct infringement under the doctrine of equivalents.
       “Literal infringement” means that each and every element recited in a claim has identical
correspondence in the allegedly infringing device or process. “Under the doctrine of equivalents,
a product or process that does not literally infringe . . . the express terms of a patent claim may
nonetheless be found to infringe if there is ‘equivalence’ between the elements of the accused
product or process and the claimed elements of the patented invention.’” Ethicon Endo-Surgery,
Inc. v. U.S. Surgical Corp., 149 F.3d 1309, 1315 (Fed. Cir. 1998)
       For an infringement analysis & litigation, claim charts help confirm or dis-confirm that
each and every limitation of the claim is present in a product, service, or standard. An Evidence-
of-Use (EoU) or Infringement Chart shows how a product or process accused of infringement
contains each claim element to satisfy the ‘all elements test’ for infringement.
       Below, (Figure 1) Plaintiff displays the claim limitations of claim 5 of the ‘287 patent;
claim 23 of the ‘439 patent; and claim 1 of the ‘189 patent; to the Google Pixel 5 smartphone
elements for chemical, biological, radiological, and nuclear (CBRN) sensing.
       The chart below represents a scaled down version of the claim chart presented in the U.S.
Court of Appeals for the Federal Circuit in Larry Golden v. Google LLC; Case No. 22-1267, that
identifies the elements of the Smartphone and satisfies the patent claims requirement for CBRN
sensing. Scaled down because the ATAK (Android operating system) include nearly 1,300 brands
that have produced over 24,000 distinct Android devices (android.com). It is not just about
Google or a Google device [Google Pixel 5 smartphone].

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Figure 1

      Google Pixel 5             Patent #: 10,163,287;             Patent #: 9,589,439;           Patent #: 9,096,189;
       Smartphone                Independent Claim 5              Independent Claim 23           Independent Claim 1

                                                                                                A communication device
                                                                                                 of at least one of a cell
                                                                                                phone, a smart phone, a
                                                                                                 desktop, a handheld, a
                                                                                                  PDA, a laptop, or a
                                  A monitoring device,           A cell phone comprising:        computer terminal for
                                     comprising:                                                  monitoring products,
                                                                                                   interconnected to a
                                                                                                        product for
                                                                                                     communication
                                                                                                      therebetween,
                                                                                                       comprising:

 Android Team Awareness
  Kit, ATAK (built on the
     Android operating
                                                                                                   the communication
 system) provides a single
                                                                 the cell phone is at least a    device is at least a fixed,
 interface for viewing and
                                                                  fixed, portable or mobile         portable or mobile
    controlling different        at least one sensor for
                                                                   communication device           communication device
       CBRN-sensing             chemical, biological, or
                                                                 interconnected to the cell     interconnected to a fixed,
   technologies, whether          human detection in
                                                                   phone detection device,          portable or mobile
     that is a wearable         communication with the
                                                                     capable of wired or        product, capable of wired
 smartwatch that measures           at least one CPU;
                                                                  wireless communication                or wireless
 a warfighter’s vitals (e.g.,
                                                                     therebetween; and               communication
   heart rate) or a device
                                                                                                     therebetween…
   mounted on a drone to
  detect chemical warfare
           agents.

 Android Team Awareness
  Kit, ATAK (built on the
     Android operating
    system) is a digital
  application available to
                                                             at least one of a chemical
  warfighters throughout         one or more detectors in                                              wherein the
                                                                 sensor, a biological
  the DoD. ATAK offers           communication with the                                          communication device
                                                                sensor, an explosive
   warfighters geospatial          at least one CPU for                                         receives a signal via any
                                                             sensor, a human sensor, a
  mapping for situational        detecting at least one of                                      of one or more products
                                                              contraband sensor, or a
 awareness during combat          chemical, biological,                                            listed in any of the
                                                                 radiological sensor
 — on an end-user device        radiological, or explosive                                         plurality of product
                                                             capable of being disposed
 such as a smartphone or a                agents;                                                 grouping categories;
                                                                 within, on, upon or
   tablet. With DTRA’s
                                                              adjacent the cell phone;
 contribution, ATAK now
     includes chemical,
  biological, radiological,
   and nuclear (CBRN)
          plug-ins.




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                                  at least one of a                                            a transmitter for
                                  transmitter or a                                        transmitting signals and
                                   transceiver in                                         messages to at least one
                             communication with the                                          of plurality product
Google Nest × Yale Lock
                                 at least one CPU                                            groups based on the
 is connected to the Nest
                                configured to send                                          categories of a multi-
   app; you can lock or
                            signals to monitor at least                                  sensor detection device, a
  unlock your door from
                             one of a door, a vehicle,                                   maritime cargo container,
       your phone.                                                 a transmitter for
                                or a building, send                                        a cell phone detection
                                                              transmitting signals and
                             signals to lock or unlock                                       device, or a locking
Android Team Awareness                                        messages to a cell phone
                               doors, send signals to                                               device;
 Kit, ATAK (built on the                                          detection device; a
                             control components of a
    Android operating                                           receiver for receiving
                              vehicle, send signals to                                    a receiver for receiving
system) provides a single                                        signals from the cell
                             control components of a                                     signals, data or messages
interface for viewing and                                     phone detection device;
                              building, or… detect at                                        from at least one of
   controlling different
                              least one of a chemical                                     plurality product groups
      CBRN-sensing
                             biological… agent such                                      based on the categories of
       technologies
                             that the communication                                       a multi-sensor detection
                                device is capable of                                     device, a maritime cargo
                                 communicating,                                            container, a cell phone
                               monitoring, detecting,                                       detection device, or a
                                  and controlling.                                             locking device;




Google Nest × Yale Lock
                                                                                                whereupon the
 is connected to the Nest
                                                                                         communication device, is
   app; you can lock or
                                                                                             interconnected to a
  unlock your door from
                                                                                             product equipped to
       your phone.
                                                                                           receive signals from or
                                                                                           send signals to lock or
Android Team Awareness
                                        X                                X               unlock doors, activate or
 Kit, ATAK (built on the
                                                                                              deactivate security
    Android operating
                                                                                             systems, activate or
system) provides a single
                                                                                          deactivate multi-sensor
interface for viewing and
                                                                                          detection systems, or to
   controlling different
                                                                                         activate or deactivate cell
      CBRN-sensing
                                                                                          phone detection systems
       technologies




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 Android Team Awareness
                                                                                    wherein at least one
  Kit, ATAK (built on the
                                                                                    satellite connection,
     Android operating
                                                                                  Bluetooth connection,
    system) is a digital
                                                                                WiFi connection, internet
  application available to
                                                                                      connection, radio
  warfighters throughout
                                                       a transmitter for               frequency (RF)
  the DoD. ATAK offers
                                                  transmitting signals and          connection, cellular
   warfighters geospatial
                                                  messages to a cell phone        connection, broadband
  mapping for situational
                                    X                 detection device; a       connection… short range
 awareness during combat
                                                    receiver for receiving         radio frequency (RF)
 — on an end-user device
                                                     signals from the cell       connection is capable of
 such as a smartphone or a
                                                  phone detection device;         signal communication
   tablet. With DTRA’s
                                                                                 with the transmitter and
 contribution, ATAK now
                                                                                     the receiver of the
     includes chemical,
                                                                                  communication device
  biological, radiological,
                                                                                  and transceivers of the
   and nuclear (CBRN)
                                                                                          products;
          plug-ins.


 Android Team Awareness
 Kit, ATAK (built on the
                                                   whereupon a signal sent
 Android operating
                                                  to the receiver of the cell
 system) is a digital
                                                   phone detection device
 application available to
                                                   from at least one of the
 warfighters throughout
                                                     chemical sensor, the
 the DoD. ATAK offers
                                                    biological sensor, the
 warfighters geospatial
                                                    explosive sensor, the
 mapping for situational
                                    X                 human sensor, the                    X
 awareness during combat
                                                  contraband sensor, or the
 — on an end-user device
                                                     radiological sensor,
 such as a smartphone or a
                                                     causes a signal that
 tablet. With DTRA’s
                                                   includes at least one of
 contribution, ATAK now
                                                   location data or sensor
 includes chemical,
                                                  data to be sent to the cell
 biological, radiological,
                                                            phone.
 and nuclear (CBRN)
 plug-ins.




    THE DOD-DTRA SPECIFICATIONS CANNOT BE MET WITHOUT
               INFRINGING GOLDEN’S PATENTS

        International terrorism - demands the Government to make efforts to apply new
principles and technologies to protect society against chemical, biological, radiological and
nuclear (CBRN) attacks and to develop novel effective technological processes for
CBRN detection.
        iTAK, ATAK, and WinTAK are government-off-the-shelf apps for iOS smartphones,
Android smartphones, and laptops, tablets and desktop PCs that uses Windows.

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       iTAK, ATAK, and WinTAK enables collaboration across multiple components that were
unable to communicate when on joint missions because they use different equipment, radio
frequencies or encryption.
       Now, components such as Customs and Border Protection (CBP), Immigration and
Customs Enforcement (ICE), U.S. Secret Service (USSS), U.S. Coast Guard (USCG), FEMA,
state police, local police, and others can all be connected during operations. This is ideal for
designated National Special Security Events (NSSE) such as the Super Bowl, Presidential
Inauguration, summits with world leaders, large parades, etc.
       In parallel with the development of specialized hardware should be the development of
the application that will run on the smartphone, that will allow the hardware to be used for these
specialized needs. Depending on the smartphones used or deployed, the applications will need to
be written for Android, iOS, and Windows.
       The TAK suite of tools uses plugins, allowing users to design applications specific to
their mission needs. For example, iTAK, ATAK, and WinTAK can connect to sensors, satellites,
drones, and smartwatches, enabling integration of valuable data from operators and team
members and the environment.
       Draper Laboratory, Inc. designed a chemical, biological, radiological and nuclear
(CBRN) Plugin to enable users to integrate CBRN sensors into TAK, collect CBRN sensor data,
display it on a map and livestream it across the TAK network to other users. CBRN plugins for
iTAK, ATAK, and WinTAK are operational in the field.
       Draper’s $415,000 contract calls for Draper to also provide maintenance support,
technical services, testing, evaluation and training for TAK. The TAK application supports the
Nuclear Enterprise Contingency Operations Department’s (NE-COs) various chemical,
biological, radiological and nuclear (CBRN) detector systems.
       In a matter of first impression, the Federal Circuit in FastShip, LLC v. U.S., “[W]e
interpret “manufactured” in § 1498 [] such that a product is “manufactured” when it is made to
include each limitation of the thing invented and is therefore suitable for use.”
   •   “According to its ordinary, contemporary, common meaning, ruling that the plain
       meaning of “manufactured” encompasses products made or worked into a form that is
       suitable for use.”



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       Therefore, CBRN plugins for iTAK, ATAK, and WinTAK could never be “suitable for
use” without Golden’s patented CMDC devices; CPUs; and Detectors/Sensors for CBRN
detection. The Federal Circuit in Larry Golden v. Google LLC; Case No. 22-1267 confirmed the
claim chart “map[ped] claim limitations to infringing product features, and it does so in a
relatively straightforward manner”. According to the doctrine of vertical stare decisis, this
analysis cannot be overturned in the lower Court of Federal Claims.
       “Mr. Golden’s complaint includes a detailed claim chart mapping features of an accused
       product, the Google Pixel 5 Smartphone, to independent claims from U.S. Patent Nos.
       10,163,287, 9,589,439, and 9,069,189 … It [claim chart] attempts [] to map claim
       limitations to infringing product features, and it does so in a relatively straightforward
       manner … [W]e conclude that the district court’s decision in the Google case is not
       correct with respect to at least the three claims mapped out in the claim chart.”

       Draper Laboratory, Inc. has developed software for every version of TAK (i.e., iTAK,
ATAK, & WinTAK) and the CBRN sensor plugin since it was first developed by the Department
of Defense (DOD) Defense Threat Reduction Agency (DTRA).


Unmanned Aerial Vehicles (UAVs) for CBRN Detection
       Draper is working with the Department of Defense under a three-year contract to address
these challenges—and improve UAVs—by focusing on the most challenging aspects of
autonomous navigation. In a series of recent demonstrations, a team from Draper and the DoD
customer tackled technical issues related to reducing collisions, enhancing onboard intelligence
and developing new robust navigation methods.
       Draper’s new capability is to equip small UAVs so that they can fly ahead of a military
unit to scout a location and sense the presence of chemical, biological, radiological and nuclear
(CBRN) elements. Hazard detection using a small UAV can reduce the kinds of risks soldiers
might encounter by scouting a location using handheld or vehicle-mounted sensors.
       The Department of Defense has awarded Neya Systems, [Neya Systems develops and
integrates advanced, vehicle-agnostic, off-road and airborne autonomy] a contract to create
a Tactical Assault Kit plugin (TAK Plugin). Neya Systems said its Mission Planning and
Management System will allow TAK operators to deploy systems equipped with chemical,
biological, radiological and nuclear sensors.



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       Neya Systems $1 million contract supports the Defense Threat Reduction Agency
(DTRA), a DOD component that specializes in addressing weapons of mass destruction and
emerging threats. According to Neya Systems, the MPMS-TAK plugin will take advantage of an
existing library of CBRN procedural templates for locating and monitoring threats.
       The DOD has allegedly authorized and consented to infringing Golden’s patented pre-
programmed stall, stop, vehicle slow-down system for unmanned and autonomous vehicles,
capable of CBRN detection. See claims 1 & 2 of Golden’s 11,645,898 patent below:

       1.      A pre-programmed stall, stop, vehicle slow-down system, that comprises at least
       one central processing unit (CPU), capable of:
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle
       receives a signal from at least one of a personal computer (PC), a cellphone, a
       smartphone, a laptop, a tablet, a PDA, or a handheld;
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle
       receives a signal from at least one of cellular, satellite, or radio-frequency (RF);
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle is
       experiencing unintended acceleration;
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle is
       experiencing lane departure;
              processing instructions to stall, stop, or slow-down a vehicle when a collision or
       crash is detected;
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle has
       been reported as stolen;
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle has
       moved outside a pre-programmed designated perimeter;
              processing instructions to stall, stop, or slow-down a vehicle when at least one of
       a chemical hazard, a biological hazard, a radiological hazard; a nuclear hazard; or
       explosives have been detected;
              processing instructions to stall, stop, or slow-down a vehicle when the vehicle is
       at least a driverless vehicle; a self-drive vehicle; an autonomous vehicle; a human




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controlled vehicle; a manned or unmanned convoy vehicle, or a manned or unmanned
aerial, land, or sea vehicle; and,
        Wherein, when the central processing unit (CPU) processes instructions to stall,
stop, or slow-down a vehicle, a distress signal is sent to at least one of a monitoring site, a
control center, or is recorded for storage.

2.      A vehicle, that comprises at least one onboard computer system, electronic
system, fuel system, air system, braking system, ignition system, transmission system, or
PowerDrive system, capable of:
        stalling, stopping, or slowing down a vehicle when the vehicle receives a signal
from at least one of a personal computer (PC), a cellphone, a smartphone, a laptop, a
tablet, a PDA, or a handheld;
        stalling, stopping, or slowing down a vehicle when the vehicle receives a signal
from at least one of cellular, satellite, or radio-frequency (RF);
        stalling, stopping, or slowing down a vehicle when the vehicle is experiencing
unintended acceleration;
        stalling, stopping, or slowing down a vehicle when the vehicle is experiencing
lane departure;
        stalling, stopping, or slowing down a vehicle when a pedestrian, obstacle,
collision or crash is detected; stalling, stopping, or slowing down a vehicle when the
vehicle has been reported as stolen;
        stalling, stopping, or slowing down a vehicle when the vehicle has moved outside
a pre-programmed designated perimeter;
        stalling, stopping, or slowing down a vehicle when at least one of a chemical
hazard, a biological hazard, a radiological hazard; a nuclear hazard; or explosives have
been detected;
        stalling, stopping, or slowing down a vehicle when the vehicle is at least a
driverless vehicle; a self-drive vehicle; an autonomous vehicle; a human controlled
vehicle; a manned or unmanned convoy vehicle, or a manned or unmanned aerial, land,
or sea vehicle; and,
        Wherein, the vehicle is stalled, stopped, or slowed down, a distress signal is sent
to at least one of a monitoring site, a control center, or is recorded for storage.

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       Therefore, CBRN detection onboard unmanned and autonomous vehicles could never be
“suitable for use” without Golden’s patented Pre-Programmed Stall, Stop, Vehicle Slow-Down
System, Detectors/Sensors for CBRN, and in most situations Golden’s patented CMDC devices.


                                        CONCLUSION

       A “Stay” is simply a waste of time. The Government’s defense is insufficient and barred
under the doctrine of “Vertical Stare Decisis” The Federal Circuit has already decided on the
sufficiency of the complaint, claim chart, and patent claims. This Court must honor and respect
the Circuit’s decision that Golden has alleged enough facts to give rise to “more than a sheer
possibility that the Defendant has acted unlawfully.” Iqbal, 556 U.S. at 678 (citation omitted) …
and pled “enough fact[s] to raise a reasonable expectation [] that the Defendant is liable for the
misconduct alleged.




                                                      Sincerely,



                                                      s/ Larry Golden
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                         CERTIFICATE OF SERVICE


      The undersigned hereby certifies that on this 25th day of July, 2023, a true
and correct copy of the foregoing “Plaintiff’s Response to the Government’s
Motion to Stay Briefing on Plaintiff’s Motion for Summary Judgement”, was
served upon the following Defendant by priority “express” mail and via email:



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